         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                      CRIMINAL NO. 1:05CR211-2


UNITED STATES OF AMERICA )
                         )
                         )
         VS.             )                     ORDER
                         )
                         )
RUDOLPH KIRKPATRICK, JR. )
                         )


     THIS MATTER is before the Court on the Government's motion to

reduce Defendant's sentence pursuant to Rule 35(b) of the Federal Rules

of Criminal Procedure.

     For the reasons stated therein,

     IT IS, THEREFORE, ORDERED that the Government's motion is

ALLOWED, and the Defendant's sentence is hereby reduced from a total

term of 48 months imprisonment to a term of 8 months imprisonment as to

Counts One and Eleven to run consecutive to the 24-month mandatory

sentence imposed for Count Nine, for a total term of 32 months

imprisonment, with all other terms and conditions of the Judgment of




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                                      2

Conviction to remain in full force and effect. The Clerk of Court shall

prepare an amended Judgment in accordance with the terms herein.

      The Clerk is directed to transmit copies of this Order electronically to

the United States Attorney, the United States Marshal, the United States

Probation Office, defense counsel, and to the Warden of the federal

correctional facility where the Defendant is currently imprisoned. The Clerk

is further directed to send a copy by regular United States Mail to the

Defendant.

                                      Signed: October 6, 2006




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